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                          UNITED STATES DISTRICT COURT
                                  District of Maine


                                                )
 JONATHAN AFANADOR,                             )             Docket No. 1:20-cv-00235-JDL
               Plaintiff                        )
                                                )
 v.                                             )
                                                )
 KENNEBEC COUNTY and NATHAN                     )
 WILLHOITE,                                     )
               Defendants                       )
                                                )


                              STIPULATION OF DISMISSAL

       NOW COME the parties, through counsel, and hereby stipulate that the above-captioned
matter may be dismissed, with prejudice, and without costs, interest, or attorneys fees to any
party.



Dated: April 7, 2021                                  /s/ Matthew D. Morgan
                                                    Matthew D. Morgan, Esq.
                                                    Attorney for Plaintiff
                                                    McKee Law
                                                    133 State Street
                                                    Augusta, ME 04330


Dated: April 7, 2021                                  /s/ Peter T. Marchesi
                                                    Peter T. Marchesi, Esq.
                                                    Wheeler & Arey, P.A.
                                                    Attorneys for Defendant Kennebec County
                                                    27 Temple Street
                                                    Waterville, ME 04901


Dated: April 7, 2021                                  /s/ John J. Wall, III
                                                    John J. Wall, III, Esq.
                                                    Monaghan, Leahy
                                                    Attorneys for Defendant Willhoite
                                                    95 Exchange Street, P.O. Box 7046
                                                    Portland, ME 04112-7046
 Case 1:20-cv-00235-JDL Document 18 Filed 04/07/21 Page 2 of 2                    PageID #: 86




                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                    )
 JONATHAN AFANADOR,                                 )             Docket No. 1:20-cv-00235-JDL
               Plaintiff                            )
                                                    )
 v.                                                 )
                                                    )
 KENNEBEC COUNTY and NATHAN                         )
 WILLHOITE,                                         )
               Defendants                           )
                                                    )


                                CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Stipulation of Dismissal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Matthew D. Morgan, Esq.                   mmorgan@mckeelawmaine.com
              John Wall, III, Esq.                      jwall@monaghanleahy.com


Dated: April 7, 2021                                      /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendant Kennebec County
                                                        27 Temple Street
                                                        Waterville, ME 04901
